Case 3:15-cv-07658-MAS-LHG Document 411 Filed 01/18/19 Page 1 of 1 PageID: 12948




                                                     January 18, 2019

  Hon. Michael A. Shipp
  U.S.D.C., Dist. of New Jersey
  Clarkson S. Fisher Bldg. & U.S. Courthouse
  402 East State Street
  Trenton, NJ 08608

            Re:    In re Valeant Pharmaceuticals International, Inc. Securities Litigation,
                   3:15-cv-07658-MAS-LHG

  Dear Judge Shipp:

           On November 13, 2018, the parties submitted a Stipulation and Proposed Order for the
  Court’s consideration. Although the Stipulation has not yet been entered by the Court, the
  parties have been abiding by its terms. I write on behalf of all parties to provide the Court with
  a brief status update, as contemplated by the Stipulation.

          There are three motions currently pending before the Court. Two of the motions are
  fully briefed: (1) Class Plaintiffs’ motion to compel Philidor RX Services, LLC and other entities
  to produce documents; and (2) the ValueAct Defendants’ motion to dismiss Class Plaintiffs’
  insider trading allegations. The third motion was filed on January 14, 2019, when certain
  defendants moved in the Class Action to dismiss the Timber Hill complaint and strike its class
  allegations. The parties expect responsive briefing consistent with the recent order setting that
  motion for February 15, 2019. In addition, the parties are continuing to engage in third party
  discovery, consistent with the terms of the Stipulation.


                                                                Respectfully submitted,




                                                                Christopher A. Seeger

  cc:    All counsel of record (via CM/ECF)
